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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)
 KENNEDYS CMK LLP
 120 Mountain View Boulevard
 P.O. Box 650
 Basking Ridge, New Jersey 07920
 Phone: (908) 848-6300                               Case No.: 20-21436
 Fax: (908) 647-8390                                 (Jointly Administered)
 Counsel for Non-Party Movant Allied World
 National Assurance Company                          Judge: Honorable Stacey L. Meisel
 DAVID M. KUPFER
                                                     Chapter: 11
 In Re:

 SITO MOBILE SOLUTIONS, INC., et al.                                   ORDER

                               Debtor.


          This matter having come before the Court on the motion of Non-Party Movant, Allied

World National Assurance Company (“Allied World”), seeking an Order for Relief from the

Automatic Stay, to the Extent Applicable, to Prosecute Coverage Litigation Against Directors and

Officers of Debtor SITO Mobile Solutions, Inc., and the Court having considered the moving

papers and any papers filed in opposition thereto, and for good cause shown,

          It is on this        day of February, 2021, hereby

          ORDERED that Allied World’s Motion is hereby GRANTED; and it is

          ORDERED that the Court enter this order lifting the automatic stay under Bankruptcy

Code §362(a) to the extent applicable, to permit Allied World to prosecute the Coverage Litigation;

and it is
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     ORDERED the Court may grant such other and further relief as is just and proper.




                                                Honorable Stacey L. Meisel, U.S.B.C.




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